Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 1 of 10 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES          §
INNOVATIONS, LLC,                     §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
LG ELECTRONICS, INC. and              §
LG ELECTRONICS U.S.A., INC.,          §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff” or “RCDI”) files

this Complaint against LG Electronics, Inc. and LG Electronics U.S.A., Inc. (“Defendant” or

“LG”) for infringement of United States Patent Nos. 7,899,713 (“the ‘713 Patent”) and

8,788,090 (“the ‘090 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant LG Electronics, Inc. is a corporation



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                   PAGE | 1
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 2 of 10 PageID #: 2




organized under the laws of Korea with its principal place of business at LG Twin Tower 128,

Yeoui-daero, Yeongdeungpo-gu, Seoul, Korea. On information and belief, Defendant LG

Electronics U.S.A., Inc. is a company organized under the laws of the state of Delaware with

its principal place of business at 1000 Sylvan Avenue, Englewood Cliffs, New Jersey. On

information and belief, LG Electronics U.S.A., Inc. has a registered agent, United States

Corporation Company, located at 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218

USA.

       5.      On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in the state

of Texas, has conducted business in the state of Texas, and/or has engaged in continuous and

systematic activities in the state of Texas.

       6.      On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the Eastern

District of Texas.

                                               VENUE

       7.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendant is deemed to reside in this district. In addition, and in

the alternative, Defendant has committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 7,899,713)

       8.      Plaintiff incorporates paragraphs 1 through 8 herein by reference.

       9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.     Plaintiff is the owner by assignment of the ‘713 Patent with sole rights to


PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                 PAGE | 2
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 3 of 10 PageID #: 3




enforce the ‘713 Patent and sue infringers.

       11.     A copy of the ‘713 Patent, titled “System and Method for Creating a

Personalized Consumer Product,” is attached hereto as Exhibit A.

       12.     The ‘713 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 16, of the ‘713 Patent by making, using,

importing, selling, and/or offering for sale a customizable app and appliance system covered

by one or more claims of the ‘713 Patent. Defendant has infringed and continues to infringe the

‘713 patent in violation of 35 U.S.C. § 271.

       14.     Defendant sells, offers to sell, and/or uses systems, including, without

limitation, smartThinQ appliances and the LG Smart Appliance Application loaded on a

mobile device (“System”), and related connectable components and/or applications, which may

operate in connection with the System, which infringe at least Claim 16 of the ‘713 Patent.

These systems and components allow a user to remotely customize the operation of various

functions of a variety of smart appliances using a mobile device or other computing platform

that can support an app. For example, the user can control settings of the smart appliances.

       15.     On information and belief, the System includes a remote server including a

database storing a product preference (e.g., additional functionality of the smart appliances,

such as special wash cycles for a smart washing machine) for at least one user. For example,

the System’s server stores appliance settings that the user can use to remotely control an

appliance’s functionality.

       16.     On information and belief, the System includes a terminal (e.g., a smartphone



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                  PAGE | 3
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 4 of 10 PageID #: 4




having the app loaded thereon) for transmitting an identity of the user (e.g., the user logs in

with the user’s credentials) to the remote server. On information and belief the terminal also

receives the product preference of the user from the server. For example, the smartphone can

receive from the server a product preference (e.g., appliance settings), which can then be

modified and/or transmitted to the appliance.

       17.     The System includes a communication network (e.g., Internet) for coupling the

remote server (e.g., LG server) and the terminal (e.g., smartphone).

       18.     The System includes a first communication module (e.g., Wi-Fi transmitter)

within the product (e.g., smart appliance) and in communication with the terminal (e.g.,

smartphone).

       19.     On information and belief, the server receives the identity of the product (e.g.,

smart appliance) and the identity of the user (e.g., during log on). On information and belief,

the server also retrieves the product preference (e.g., appliance settings) from the database

based on the identity of the product and the identity of the user. For example, appliance

settings for a particular appliance are tied to a particular user account. On information and

belief, the server transmits the product preference (e.g., appliance settings) to the first

communication module via the terminal (e.g., the request for the appliance settings was made

on the smartphone).

       20.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this Court.

       21.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                 PAGE | 4
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 5 of 10 PageID #: 5




       22.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,788,090)

       23.     Plaintiff incorporates paragraphs 1 through 22 herein by reference.

       24.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       25.     Plaintiff is the owner by assignment of the ‘090 Patent with sole rights to

enforce the ‘090 Patent and sue infringers.

       26.     A copy of the ‘090 Patent, titled “System and Method for Creating a

Personalized Consumer Product,” is attached hereto as Exhibit B.

       27.     The ‘090 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       28.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘090 Patent by making, using, importing,

selling, and/or offering for sale a customizable app and appliance system covered by one or

more claims of the ‘090 Patent. Defendant has infringed and continues to infringe the ‘090

patent in violation of 35 U.S.C. § 271.

       29.     Defendant sells, offers to sell, and/or uses systems, including, without

limitation, smartThinQ appliances and the LG Smart Appliance Application loaded on a

mobile device (“System”), and related connectable components and/or applications, which may

operate in connection with the System, which infringe at least Claim 1 of the ‘090 Patent.

These systems and components allow a user to remotely customize the operation of various

functions of a smart appliance using a mobile device or other computing platform that can

support an app. For example, the user can control settings of the smart appliance.


PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                 PAGE | 5
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 6 of 10 PageID #: 6




       30.     On information and belief, the System includes a remote server including a

database storing a product preference (e.g., additional functionality of the smart appliances,

such as special wash cycles for a smart washing machine) of a predetermined product (e.g., a

particular appliance) for at least one user (e.g., a user linked to the particular appliance via an

account). For example, the System’s server stores appliance settings that the user can use to

remotely control a appliance’s functionality.

       31.     The System includes a first communication module (e.g., Wi-Fi transmitter)

within the product (e.g., smart appliance) and in communication with the remote server (e.g.,

LG server).

       32.     On information and belief, the server receives the identity of the product (e.g.,

particular smart appliance) and the identity of the user (e.g., during log on). For example, the

user is identified by an account and the particular appliance is identified as being linked to that

user’s account. On information and belief, the server also retrieves the product preference

(e.g., appliance settings) from the database based on the identity of the predetermined product

and the identity of the user. For example, appliance settings for a particular appliance are tied

to a particular user account. On information and belief, the server transmits the product

preference (e.g., appliance settings) to the first communication module (e.g., the Wi-Fi

transmitter in the appliance).

       33.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this Court.

       34.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                    PAGE | 6
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 7 of 10 PageID #: 7




          35.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent Nos. 7,899,713 and 8,788,090

(or, in the alternative, awarding Plaintiff a running royalty from the time of judgment going

forward);

          (c)   Award Plaintiff damages resulting from Defendant’s infringement in

accordance with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                                                 PAGE | 7
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 8 of 10 PageID #: 8




Dated: December 22, 2016           Respectfully submitted,


                                   /s/ Jay Johnson
                                   JAY JOHNSON
                                   State Bar No. 24067322
                                   D. BRADLEY KIZZIA
                                   State Bar No. 11547550
                                   KIZZIA JOHNSON, PLLC
                                   1910 Pacific Ave. Suite 13000
                                   Dallas, Texas 75201
                                   (214) 451-0164
                                   Fax: (214) 451-0165
                                   jay@kjpllc.com
                                   bkizzia@kjpllc.com

                                   ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                              PAGE | 8
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 9 of 10 PageID #: 9




                                 EXHIBIT A




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
ELECTRONICS U.S.A., INC.                                              PAGE | 9
Case 2:16-cv-01445-JRG-RSP Document 1 Filed 12/22/16 Page 10 of 10 PageID #: 10




                                  EXHIBIT B




 PLAINTIFF’S COMPLAINT AGAINST DEFENDANT LG ELECTRONICS, INC. and LG
 ELECTRONICS U.S.A., INC.                                              PAGE | 10
